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JS 44 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS DEFENDANTS
Ashley Strouse Icon Eyeware, Inc.
(b) County of Residence of First Listed Plaintiff Hudson County of Residence of First Listed Defendant _ Bergen
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (if Known)
Kevin Console, Esq.,

Console Mattiacci Law
110 Marter Avenue, Suite 502, Moorestown, NJ 08057 215-545-7676

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Il. BASIS OF JURISDICTION (Place an “X”' in One Box Only) Il. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
1 US. Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S, Government Not a Party) Citizen of This State GO 1. © 1 Incorporated or Principal Place go4 04
of Business In This State
02 US, Government 0 4 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place gos as
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a 03 © 3. Foreign Nation o6 O6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS FORFETTURE/PENALTY BANKRUPTCY OTHER STATUTES !
0 110 Insurance PERSONAL INJURY PERSONAL INJURY — |G 625 Drug Related Seizure CO) 422 Appeal 28 USC 158 0 375 False Claims Act
© 120 Marine 1 310 Airplane O 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal O 376 Qui Tam (31 USC
0 130 Miller Act O 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
GF 140 Negotiable Instrument Liability © 367 Health Care/ O 400 State Reapportionment
C150 Recovery of Overpayment | (J 320 Assauit, Libel & Pharmaceutical | -PROPERTY RIGHTS J 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 1 820 Copyrights © 430 Banks and Banking
1 151 Medicare Act 0 330 Federal Employers’ Product Liability 0 830 Patent O 450 Commerce
0 152 Recovery of Defaulted Liability O 368 Asbestos Personal CG 835 Patent - Abbreviated © 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY O 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle 0 370 Other Fraud 0 710 Fair Labor Standards O 861 HIA (1395ff) 0 490 Cable/Sat TV
0 160 Stockholders’ Suits 0 355 Motor Vehicle 0 371 Truth in Lending Act O) 862 Black Lung (923) 1 850 Securities/Commodities/
190 Other Contract Product Liability 380 Other Personal C1) 720 Labor/Management CO 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations C] 864 SSID Title XVI O 890 Other Statutory Actions
0) 196 Franchise Injury 0 385 Property Damage 0) 740 Railway Labor Act 0 865 RSI (405(g)) QO 891 Agricultural Acts
CF 362 Personal Injury - Product Liability © 751 Family and Medical © 893 Environmental Matters
Mcdical Malpractice Leave Act 0 895 Freedom of Information
| REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS |0) 790 Other Labor Litigation FEDERAL TAX SUITS Act
QO 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: 0 791 Employee Retirement O 870 Taaes (U.S, Phaiutiff O 896 Arbitration
©) 220 Foreclosure O 441 Voting O 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
CO 230 Rent Lease & Ejectinent (XK 442 Employment “10 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
C1 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations O 530 General O 950 Constitutionality of
G 290 All Other Real Property O 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
CO 446 Amer. w/Disabilities -] 540 Mandamus & Other | 465 Other Immigration
Other 0 550 Civil Rights Actions
0 448 Education 0 555 Prison Condition
O 360 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Box Only)
PZ1 Original 2 Removed from O 3. Remanded from 0 4 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -

(specify) Transfer Direct File
Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

42 U.S.C. §2000(e), et seq. ("Title VII"), 29 U.S.C. §2601, et seq. ("FMLA")
Vt. CAUSE OF ACTION Brief description of cause:
Plaintiff is alleging sex discrimination, pregnancy discrimination, and FMLA violations.

 

 

 

 

 

 

VII. REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. in excess of $75,000 JURY DEMAND: Yes ONo
VIII. RELATED CASE(S)
IF ANY N/A (See instructions): JUDGE DOCKET NUMBER
DATE SIGNATURE ATTORNEY OF RECORD
09/07/2017 ee _————
FOR OFFICE USE ONLY Kevin Console, Esquire

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

 
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IN THE UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW JERSEY

 

ASHLEY STROUSE :
Weehawken, NJ 07086 : CIVIL ACTION NO.

Plaintiff,
V.
ICON EYEWEAR, INC.
5 Empire Boulevard
South Hackensack, NJ 07606
JURY TRIAL DEMANDED

Defendant.

 

COMPLAINT

I. INTRODUCTION

Plaintiff, Ashley Strouse, brings this action against her former employer,
Icon Eyewear, Inc. (“Defendant”). Defendant terminated Plaintiff one (1) week
after Plaintiff notified Defendant of her pregnancy and her need for maternity
leave, and days after she objected to Defendant's discriminatory comments
regarding her pregnancy, without any legitimate reason to do so. Prior to
informing Defendant of her pregnancy, Plaintiff had no indication that her job was
in jeopardy. Defendant’s sex- and pregnancy-based discriminatory and retaliatory
conduct towards Plaintiff violated Title VII of the Civil Rights Act of 1964, as
amended, 42 U.S.C. §2000e, ef seq. (“Title VII’) and the New Jersey Law
Against Discrimination, as amended, N.J.S.A. 10:5-1, ef seq. (“NJLAD”).

Defendant also violated the Family Medical Leave Act, 29 U.S.C. §2601, et seq.
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(“FMLA”) by terminating Plaintiff shortly after, and because of, her request for an
upcoming FMLA-protected maternity leave. Plaintiff seeks damages, including
economic loss, liquidated damages, compensatory damages, punitive damages,
costs and attorney's fees, and all other relief this Court deems appropriate.

Il. PARTIES

1. Plaintiff, Ashley Strouse, is an individual and a citizen of the state of
New Jersey. She resides in Weehawken, NJ.

2. Plaintiff is female.

3. As of the time that Plaintiff would have commenced her FMLA-
protected maternity leave in or around July 2017 (had Plaintiff's employment not
been terminated beforehand), Plaintiff would have been employed for at least
twelve hundred and fifty (1,250) hours of service during the preceding twelve (12)
month period.

A, At all relevant times, Defendant employed more than fifty (50) people
within a seventy-five (75) mile radius of Plaintiff's workplace.

5. Defendant maintains a principal place of business located at 5 Empire
Boulevard, South Hackensack, NJ 07606.

6. Plaintiff worked at Defendant's offices located at 5 Empire Boulevard,
South Hackensack, NJ 07606.

7. Defendant is engaged in an industry affecting interstate commerce and
regularly does business in the state of New Jersey.

8. At all times material hereto, Defendant acted by and through its

authorized agents, servants, workmen, and/or employees acting within the
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course and scope of their employment with Defendant and in furtherance of
Defendant’s business.

9. At all times material hereto, Defendant acted as an employer within the
meanings of the statutes which form the basis of this matter.

10.  Atall times material hereto, Plaintiff was an employee of Defendant
within the meanings of the statutes which form the basis of this matter.

lll. JURISDICTION AND VENUE

11. | The causes of action which form the basis of this matter arise under
Title VII, the FMLA and the NJLAD.

12. The District Court has jurisdiction over Count | (Title VII) pursuant to 42
U.S.C. §2000e-5 and 28 U.S.C. §1331.

13. The District Court has jurisdiction over Count II (FMLA) pursuant to 29
U.S.C. §2617(a)(2) and 28 U.S.C. §1331.

14. The District Court has supplemental jurisdiction over Count II] (NJLAD)
pursuant to 28 U.S.C. §1367.

15. | Venue is proper in the District Court under 28 U.S.C. §1391(b).

16. Onor about February 14, 2017, Plaintiff filed a Charge of
Discrimination with the Equal Employment Opportunity Commission (“EEOC’),
complaining of acts of discrimination and retaliation alleged herein. Attached
hereto, incorporated herein and marked as Exhibit “1” is a true and correct copy
of the EEOC Charge of Discrimination (with personal identifying information
redacted).

17. On or about June 13, 2017, the EEOC issued to Plaintiff a Dismissal
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and Notice of Rights for her EEOC Charge. Attached hereto, incorporated herein
and marked as Exhibit “2” is a true and correct copy of that notice (with personal
identifying information redacted).

18. Plaintiff has fully complied with all administrative prerequisites for the
commencement of this action.

IV. FACTUAL ALLEGATIONS

19. Plaintiff was hired by Defendant on or about May 4, 2016 and began
her employment with Defendant on or about May 31, 2016.

20. Plaintiff held the job title of National Accounts Manager and worked in
the Sales Department.

21. Throughout the course of her employment with Defendant, Plaintiff
consistently demonstrated excellent performance and dedication to Defendant.
Plaintiff performed her duties in a highly-competent manner.

22. Plaintiff reported to Barry Shashoua (male), Vice President of Sales.

23. Onor about Friday, January 13, 2017, Plaintiff informed Shashoua that
she was pregnant.

24. Plaintiff specifically informed Shashoua that she was beginning her
second trimester and that her due date was July 24, 2017. She also informed
Shashoua that she planned on working up until she gave birth and that she
would be returning to work following her maternity leave.

25. Shashoua appeared shocked and unhappy when Plaintiff informed him
of her pregnancy.

26. In response to Plaintiff informing him of her pregnancy, Shashoua told
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Plaintiff, “You girls are really killing me.”

27. | Shashoua also told Plaintiff that now it made sense to him as to why
he thought Plaintiff's attitude had changed, and that something was “off,” and that
now he knows why.

28. Plaintiff understood Shashoua’s comments to be referring to her
pregnancy.

29. After learning of Plaintiff's pregnancy and upcoming FMLA-protected
maternity leave, Shashoua belittled Plaintiff and spoke negatively about Plaintiff
to another employee of Defendant.

30. After learning of Plaintiff's pregnancy and upcoming FMLA-protected
maternity leave, Shashoua falsely blamed Plaintiff, for the first time, for delays in
processing orders, which Plaintiff had been discussing with him over the course
of the prior two (2) months.

31. Onor about Monday, January 16, 2017, Plaintiff informed Mike Cotton
(male), Executive Vice President, that she was pregnant.

32. Plaintiff informed Cotton that her due date was July 24, 2017. Plaintiff
told Cotton that she planned on working up until she gave birth and that she
would be returning to work following her maternity leave.

33. Onor about Monday, January 16, 2017, Plaintiff objected to
Shashoua’s comments to her from Friday, January 13, 2017, telling Shashoua
that the comments were upsetting to her.

34. In response, Shashoua told Plaintiff that she needed to be more

aggressive, and referenced a male peer as an example of an employee who
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was, in Shashoua’s opinion, more aggressive.

35. Onor about Friday, January 20, 2017, Shashoua and Cotton called
Plaintiff into a meeting at the end of the day and terminated Plaintiff, effective
immediately.

36. During this termination meeting, Cotton brought to Plaintiff's attention,
for the first time, a complaint from a client, which was not legitimate. Cotton also
stated that Plaintiff's budget for 2016 came in low and that the 2017 budget was
not looking good.

37. Cotton told Plaintiff that, based on her performance and the client's
complaint, Defendant did not feel that Plaintiff was “a good fit.”

38. During the termination meeting, Plaintiff disputed the allegations from
the client.

39. In response, Cotton admitted to Plaintiff that the client who complained
was “crazy.”

40. Plaintiff also disputed the alleged issues with her budget numbers.

41. During the meeting, Plaintiff informed Cotton that Shashoua had made
derogatory comments to her about her sex and pregnancy on January 13, 2017.

42. In response, Cotton laughed and said that Shashoua was probably
joking.

43. | Upon information and belief, Defendant did not treat similarly-situated
male employees, non-pregnant female employees, non-complaining employees
and/or employees who had not attempted to exercise their FMLA rights, in the

same or similar manner.
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44. By way of example only, and without limitation, Defendant did not
terminate Michael Fletcher (male), who also works in Defendant’s Sales
Department, after at least two (2) clients complained about Fletcher and
requested that he be removed from the clients’ accounts. The same week that
Defendant received a client complaint about Plaintiff, Defendant received a client
complaint about Fletcher. Plaintiff, a pregnant female who objected to
Shashoua’s sex-based comments, was terminated, while Fletcher, a male who
had no such complaints, was not terminated. Upon information and belief,
Fletcher remains employed at Defendant despite the client complaints about him.

45. By way of further example, and without limitation, another one of
Plaintiff's non-pregnant and non-complaining coworkers was, unlike Plaintiff,
provided with warning and an opportunity to remedy alleged performance
deficiencies.

46. By way of further example, and without limitation, other male
employees, non-pregnant female employees, non-complaining employees and/or
employees who had not attempted to exercise their FMLA rights were not
belittled, were not told that they were “off,” were not told that they were “killing”
Shashoua, were not provided with unfounded performance criticism and were not
abruptly terminated for false and pretextual reasons without prior warning.

47. Defendant did not provide Plaintiff with any documentation addressing
her alleged performance deficiencies prior to her termination.

48. After Plaintiff notified Defendant, on January 13, 2017, that she was

pregnant and would be initiating an FMLA-protected maternity leave, Defendant
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for the first time raised performance criticisms, alleged a client complaint and
then terminated Plaintiff's employment, all within one (1) week, on January 20,
2017.

49. _‘ Plaintiff was approximately three (3) months pregnant at the time of her
termination.

50. ‘Plaintiff was terminated approximately four (4) days after she objected
to Shashoua’s January 13, 2017 sex- and pregnancy-based discriminatory
comments, which directly followed Plaintiff informing Shashoua of her pregnancy.

51. Prior to informing Defendant of her pregnancy, Plaintiff received
positive feedback and compliments on her performance.

52. By way of example only, and without limitation, in or around September
2016, when Plaintiff asked for her three (3) month review, Shashoua and Mike
Cotton (male), Executive Vice President, told Plaintiff that she was fine, so she
did not need a review.

53. — Prior to informing Defendant of her pregnancy, Plaintiff had no
indication that Defendant allegedly found her performance deficient and no
indication that her job was in jeopardy.

54. Plaintiff was not informed of any alleged issues regarding her
performance or any alleged issues regarding delayed orders or any alleged
issues with her budget or any other alleged issues until after she informed
Defendant of her pregnancy.

55. — It is undisputed that Defendant did not make the decision to terminate

Plaintiff's employment until after she informed Defendant of her pregnancy.
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56. Defendant’s performance-based stated reasons for Plaintiff's
termination are false and a pretext for unlawful discrimination and retaliation.

57. | Upon information and belief, Defendant was aware of at least one (1)
other female employee complaining of Shashoua’s sex-based discrimination in
the workplace.

58. Defendant failed to prevent or address the discriminatory and
retaliatory conduct referred to herein and further failed to take corrective and
remedial measures to make the workplace free of discriminatory and retaliatory
conduct.

59. _— Plaintiff's sex and pregnancy were motivating and/or determinative
factors in connection with Defendant's discriminatory treatment of Plaintiff,
including subjecting Plaintiff to a hostile work environment and terminating her
employment.

60. Plaintiff informing Defendant of her intent to take an FMLA-protected
maternity leave was considered as a negative factor, and was a motivating and
determinative factor in Defendant’s decision to terminate Plaintiff.

61. Plaintiff's objections to Defendant’s discriminatory conduct were
motivating and/or determinative factors in connection with Defendant's retaliatory
treatment of Plaintiff, including subjecting Plaintiff to a hostile work environment
and terminating her employment.

62. The retaliatory actions taken against Plaintiff after she complained of
discriminatory conduct would have discouraged a reasonable employee from

complaining about discrimination.
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63. Plaintiff put Defendant on notice of her intent to initiate an FMLA-
protected maternity leave beginning on or about July 24, 2017 (her due date), at
which point she would have been eligible for FMLA coverage.

64. Defendant retaliated against Plaintiff for her attempting to exercise her
FMLA rights.

65, Defendant interfered with Plaintiff's right to take an FMLA-protected
leave.

66. The discriminatory and retaliatory conduct of Defendant, as alleged
herein, was severe and/or pervasive enough to make a reasonable person
believe that the conditions of employment had been altered and that a hostile
work environment existed, and made Plaintiff believe that the conditions of
employment had been altered and that a hostile work environment existed.

67. Asadirect and proximate result of Defendant’s discriminatory and
retaliatory conduct, Plaintiff has in the past incurred, and may in the future incur,
a loss of earnings and/or earning capacity, loss of benefits, pain and suffering,
embarrassment, humiliation, loss of self-esteem, mental anguish, and loss of
life’s pleasures, the full extent of which is not known at this time.

68. Plaintiff is now suffering and will continue to suffer irreparable injury
and monetary damages as a result of Defendant’s discriminatory and retaliatory
acts unless and until this Court grants the relief requested herein.

69. No previous application has been made for the relief requested herein.

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COUNT | - Title VII

70. Plaintiff incorporates herein by reference paragraphs 1 through 69
above, as if set forth herein in their entirety.

71. By committing the foregoing acts of discrimination and retaliation
against Plaintiff, Defendant has violated Title VII.

72. Defendant acted intentionally, and with malice and/or reckless
indifference to Plaintiff's rights, and its conduct warrants the imposition of punitive
damages.

73. As a direct and proximate result of Defendant’s violation of Title VII,
Plaintiff has suffered the damages and losses set forth herein and has incurred
attorneys’ fees and costs.

74. Plaintiff is now suffering and will continue to suffer irreparable injury
and monetary damages as a result of Defendant’s discriminatory and retaliatory
acts unless and until this Court grants the relief requested herein.

15. No previous application has been made for the relief requested herein.

COUNT Il—- FMLA

76. Plaintiff incorporates herein by reference paragraphs 1 through 75
above, as if set forth herein in their entirety.

7. By committing the foregoing acts against Plaintiff, Defendant has
violated the FMLA.

78. As aresult of Defendant retaliating against Plaintiff for exercising her

right to take leave, Defendant denied Plaintiff her rights under the FMLA.

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79. Said violations were not in good faith, and Defendant did not have
reasonable grounds to believe that the foregoing acts were not in violation of the
FMLA, and warrant the imposition of liquidated damages.

80. As a direct and proximate result of Defendant’s violation of the FMLA,
Plaintiff has suffered damages and losses set forth herein and has incurred
attorneys’ fees and costs.

81. Plaintiff is now suffering and will continue to suffer irreparable injury
and monetary damages as a result of Defendant’s violations of the FMLA unless
and until this Court grants the relief requested herein and has incurred attorneys’
fees and costs.

82. No previous application has been made for the relief requested herein.

COUNT Ill - NJLAD

83. Plaintiff incorporates herein by reference paragraphs 1 to 82 above, as
if set forth herein in their entirety.

84. By committing the foregoing acts of discrimination and retaliation
against Plaintiff, Defendant has violated the NULAD.

85. Members of Defendant's upper management had actual participation
in, or willful indifference to, Defendant’s wrongful conduct described herein, and
their conduct warrants the imposition of punitive damages against Defendant.

86. Asa direct and proximate result of Defendant’s discriminatory and
retaliatory conduct, Plaintiff has sustained the injuries, damages, and losses set

forth herein, and has incurred attorney's fees and costs.

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87. Plaintiff is now suffering and will continue to suffer irreparable injury
and monetary damages as a result of Defendant's discriminatory and retaliatory
acts unless and until this Court grants the relief requested herein.

88. No previous application has been made for the relief requested herein.

RELIEF
WHEREFORE, Plaintiff respectfully requests that this Court enter

judgment in favor of Plaintiff and against Defendant:

(a) declaring the acts and practices complained of herein to be
in violation of Title VII;

(b) declaring the acts and practices complained of herein to be
in violation of the FMLA;

(c) declaring the acts and practices complained of herein to be
in violation of the NJLAD;

(d) entering judgment against Defendant and in favor of Plaintiff
in an amount to be determined;

(e) — enjoining and restraining permanently the violations alleged
herein;

(f) awarding compensatory damages to Plaintiff to make
Plaintiff whole for all past and future lost earnings, benefits, and earning capacity,
which Plaintiff has suffered and will continue to suffer as a result of Defendant's

discriminatory and retaliatory conduct;

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(g) | awarding compensatory damages to Plaintiff for past and
future emotional upset, mental anguish, humiliation, loss of life’s pleasures, and

pain and suffering;

(h) awarding Plaintiff costs of this action, together with
reasonable attorney's fees:

(i) awarding punitive damages to Plaintiff under Title VII;

(j) awarding punitive damages to Plaintiff under the NJLAD;

(k) awarding liquidated damages to Plaintiff under the FMLA;

(I) awarding Plaintiff such other damages as are appropriate
under Title VII, the FMLA and the NJULAD; and

(m) — granting such other and further relief as this Court deems

appropriate.

CONSOLE MATTIACCI LAW LLC

Dated: September 7, 2017 BY: io

Kévin Console, Esq.

-410 Marter Avenue, Suite 502
Moorestown, NJ 08057
Telephone: (215) 545-7676
kevinconsole@consolelaw.com

Attorney for Plaintiff,
Ashley Strouse

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EXHIBIT 1
Case 2:17-cv-06871-SDW-SCM Document1 Filed 09/07/17 Page 17 of 21 PagelD: 17

 

CHARGE OF DISCRIMINATION AGENCY . CHARGE NUMBER ay

Q FEPA oa
This form is affected by the Privacy Act of 1974; Seo: privacy statement before | X EEOC
consolidating this form.

 

 

 

 

 

 

-| STATE. OR LOCAL AGENCY: .
_| NAME (indicate Mr., Ms., Mrs.) HOME TELEPHONE NUMBER (Include Area Code)
-Ashley Strouse a :
: _— ADDRESS CITY, STATE AND ZIP A'TE.OF BI

 

Wechawken, NJ 07086

NAMED 1s THE 2 EMPL OVER, LABOR ORGANIZ, ATION, EMPLOYMENT AGENC XY, APPRENTICESHIP, ‘COMMITTEE,
STATE OF LOCAL GOVERNMENT WHO DISCRIMINAT: BD AGAINST ME (if more than one-than list below):

 

 

 

 

 

 

NAME NUMBER OF EMPLOY BES, MEMBERS TELEPHONE (includes Area Code)”
{ Icon, Eyewear, Inc. P15 (201) 330-9333 =
- | STREET ADDRESS 7 CITY, STATE AND ZIP | COUNTY
5:Empire Boulevard South Hackensack, N I 07606 Bergen
CAUSE OF DISCRIMINATION {Cheek appropriate box(es) DATE DISCRIMINATION TOOK PLACE
QRace Q Color XSex OQ Religion ©. National Origin .
X Retaliation QAge Q-Disability X Other (Specify) Pregnancy Earliest Latest 01/20/2017

 

 

‘The Particulars Are:

 

A. 4. Relevant Work History

was hired by Respondent on May 4, 2016, and began my employment on May 31, 2016.as a-National Accounts
Manager in the Sales Department. | reported to Barry Shashoua (male), Vice President of Sales.

On January 43, 2017, | informed Shashoua that | am pregnant, ‘On January 20, 2017, | was terminated from my
employment with Respondent.

consistently demonstrated. axcellent.perfarmanca and dedication to. Respondent. |:performed my duties ina highly-... on
J competent.manner. Before informing Respondent of my pregnancy, | received positive feedback and compliments © ori nmy
| positive performance. .

 

anes want this ‘charge tiled with both the EEOC and the State or local Aguey, it “NOTARY - (when nocessury for State and Local Requirements)
“c}any, Twill advise the agencies if | change my address ar telephone number.and
cooperate fully with them in the processing of my charge in accordance with “T swear of affirm that} have read the above charge and that it is tue

their procedures to the best of my knowledse information and belief. :

I declare under penalty or perjury that the foregoing is tue and correct,

 

 

 

 

‘Date: Charging Party. (Signature): SIGNATURE OF COMPLAINANT

oe ‘Ss | 13 | | + Abhi | aude. SUBSCRIBED AND SWORN TO BRFORE MB THIS DATE
nent . — (Day Month, and year)

 

 

 

 
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EEOC Charge of Discrimination
Page. 2 of 3
Initlals of Charging Party -Af ll
2. Harm Summary

| have been discriminated against, including being-subjected to a-hostila work environment, -

’ because of my sex (female) and my pregnancy, and have been retaliated against because-of my.
complaints of Respondent's discriminatory: conduct, Evidence of the discriminatory.and
retaliatory conduct to which L-have been subjected includes, but is not limited to, the following:

(a) Prior to my informing Respondent that! am pregnant, | received positive fesdback —
regarding my performance, including that, in September 2016, wher i asked formy: |
three (3) month review, Shashoua.and Mika Cotton (male), Executive Vice President,
laughed and told me that | was fine, so! did not nead a review.

(b) On. Friday, January 13, 2017, Linformed Shashoua.of my pregnancy. | informed
Shashoua that | was beginning: my second trimester, and that my due date is July. 24,
2017.1 informed Shashoua that | intended to return to work at Respondent following
my pregnancy.

(c). Shashoua appeared shocked-and unhappy when | informed him that | arn pregnant.
Shashoua then stated, "You girls are really killing me."

(d) Shashoua stated that now it made sense that he thought my attitude had changed in
or around October 2016, and that something with me was “off.” Shashoua stated
“Something has. changed and. we know why.” |. understood him to be referring to my
pregnaricy, as the comment indicated to me.

(e) After learning that |.am pregnant, Shashoua balittied me, and spoke negatively about
me to another employee at Respondent.

(f) After | informed Shashoua of my pregnancy, Shashoua biamed me, for the first time,
for delays in ordars, which | had been discussing with him for the two (2) prior
months.

wodQ). On. Manday, January 16, 2017, Hnformed Cotton that lam pregnant. | informed
Cotton that | intended to retum to work at Respondent following my pregnancy.

(h) On Monday, January 16, 2017, told Shashoua that his comments to me_on Friday,
January 13, 2017 were upsetting to me. Shashoua responded that he needed me to
be more aggressive.

(i) On Friday, January 20, 2017, Shashoua.and Catton.called:me into a meeting at the
end of tha day. Cotton brought to my attention ‘an email from-a customer, and stated
that-they needed to address the complaints in the customer's email, Cotton then _
stated that my budget for 2016 came in low and the 2017 budget was not looking ©

good.

() Cotton stated that, based on.my performance and this customer email, Respondent
|. .dld-netfeel.that | was:a good fit, Cotton stated that, because of these reasons,
Respondent Is not terminating me because of my pregnancy.

4k) 4 was terminated. on the spot, effective immediately.

 
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EEOC Charge of Discrimination .
Page 3 of 3
initials of Charging Pariy ~ “/ fl

(i) Ttotd Cotton that | wanted to address the email from the customer. Cotton stated that. ......
the customer was “crazy.” | then addressed the budget numbers. | questioned why:
the concerns over budget issues were not brought to my: attention sooner, such as
__ when breviewed the numbers with Shashoua tn October 2016. Cotton stated thathe .
did not know what to tell-me.

(m) | informed Cotton that Shashola.had made derogatory comments about my -
pregnancy. Cotton.laughed and said Shashoua was probably joking..

(n} Unlike my non-pregnant coworker, | was not provided with any warning or any
opportunity to remedy my alleged performance deficiencies. Respondent provided
me with no documentation addressing my alleged performance deficiencies.

(0) At the time of my termination, | was approximately three (3) months pregnant.

(p) Before | informed Respondent! am pregnant, | had no indication that my job was in
jeopardy. —

(a) Upon information and belief, Respondent ‘did not target or treat in the same way
shmilarly-situated male or non-pregnant females.

B. 1. Respondents’ Stated Reasons

(a) Respondent's performance-related explanation for terminating my employments .
pretext for unlawful sex and pregnancy discrimination.

(b) Respondent's performance-related explanation for terminating my employment is
pretext for unlawful retaliation because of my complaints of discrimination.

C. 1. Statutes and Basés for Allegations

| believe that Respondent has discriminated against me, including subjecting me toa
hostile work environment, based.on my sex (female) and my pregnancy, and has
retaliated against me bacause of my complaints about Respondent's discriminatory
conduct in violation of Titte Vil of the Civil Rights Act of 1964, as amended, 42: U.S.C. §
2000(e), et seq, (“Title VII"); and. the New Jersey Law Against Discrimination, as
amended, N.JS.A. § 10:5-1, ef seg. ("NJLAD"), as set forth herein.

 
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EXHIBIT 2
EEOC Forn 18) 11168} U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

DISMISSAL AND NOTICE OF RIGHTS

 

To. Ashley Strouse From: Newark Area Office
283-299 Market Street
Weehawken, NJ 07086 Two Gateway Center, Suite 1703

Newark, NJ 07102

 

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Rayba Watson,
§24-2017-00507 Enforcement Supervisor (973) 645-6021

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC,

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was noi timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

KR OOOO

The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

UU

Other (bdefly sfate)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice: or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (8 years)

before you file suit may not be collectible.
On beh he Commission
CLP JUN 1.3 2017
LW)
ee

 

Enclosures(s} John Waldinger, (Date Mailed)
Area Office Director
sc: Meredith Cavallaro, Esq. Emily R. Derstine Friesen
Paduano & Weintraub th CONSOLE LAW OFFICES
1251 Ave, of the Americas, 9” fir. 1525 Locust Street, 9th FI.

New York, NY 10020 Philadelphia, PA 19102
